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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

MOBILITY CREDIT UNION                                    §
                                                         §
                 Plaintiff,                              §
                                                         §
v.                                                       §     Civil Action No. 3:16-CV-2968-G-BK
                                                         §
GASTON MUGNIER                                           §
                                                         §
                 Defendant.                              §

                        NOTICE OF DISMISSAL WITHOUT PREJUDICE

        COMES NOW, Mobility Credit Union (“Mobility” or “Plaintiff”), and files this Notice of

Dismissal Without Prejudice and in support thereof respectfully shows the Court as follows:

        1.       Plaintiff filed its Original Petition against Defendant Gaston Mugnier

(“Defendant” or “Mugnier”) in Dallas County State District Court on September 19, 2016, and

asserted certain causes of action against Defendant for breach of contract, conversion, and

attorney’s fees.

        2.       Defendant was served with process on September 26, 2016.

        3.       On October 24, 2016, Defendant removed this action to this Honorable Court.

See Notice of Removal (Doc. No. 3).

        4.       Defendant has not filed an answer or motion for summary judgment in this

action.1

        5.       Mobility has not previously dismissed any federal- or state-court action based on

the same claims asserted in this action.



1
  Defendant has filed a Rule 12(b)(6) Motion to Dismiss, but this does not affect a plaintiff’s right to a voluntary
dismissal under Rule 41(a)(1)(A)(i). See, e.g., Finley Lines Joint Prot. Bd. v. Norfolk S. Corp., 109 F.3d 993, 996
(4th Cir. 1997).

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       6.     Accordingly, pursuant to FEDERAL RULE      OF   CIVIL PROCEDURE 41(a)(1)(A)(i),

Plaintiff hereby gives notice of dismissal of the claims and causes of action asserted against

Defendant Gaston Mugnier in this proceeding without prejudice as to the refiling or

reinstatement of same.

                                                  Respectfully submitted,

                                                  PASSMAN & JONES,
                                                   A Professional Corporation


                                                  By: _____________________________
                                                  Kyle B. Mandeville
                                                  Texas Bar No. 24065669
                                                  PASSMAN & JONES
                                                  A Professional Corporation
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                                                  mandevillek@passmanjones.com

                                                  COUNSEL FOR PLAINTIFF
                                                  MOBILITY CREDIT UNION


                               CERTIFICATE OF SERVICE

       I certify that on this 14th day of May, 2018, a true and correct copy of the above and

foregoing was served, as specified below, in accordance with the FEDERAL RULES       OF   CIVIL

PROCEDURE to the following:

       Gaston Mugnier                           CMRRR: 92147969009997901621417352; and
       505 West 5th Avenue                                         Via U.S. Regular Mail
       Covington, LA 70433


                                               ____________________________________
                                               Kyle B Mandeville




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